         Case 1:21-cv-00066-CRH Document 15 Filed 05/25/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Well Water Solutions and Rentals, Inc.,
                                    )
                                    )    ORDER FOR MID-DISCOVERY
                Plaintiff,          )    STATUS CONFERENCE
                                    )
       vs.                          )
                                    )
Purity Oilfield Service, LLC,       )
                                    )    Case No. 1:21-cv-066
                Defendant.          )
______________________________________________________________________________

       IT IS ORDERED:

       A mid-discovery status conference will be held before the magistrate judge on October 12,

2021, at 9:00 AM. The conference will be conducted via telephone conference. To participate in

the conference, counsel shall call the following number and enter the following access code:

       Tel. No.: (877) 810-9415

       Access Code: 8992581

Parties are advised that telephone conferences may be electronically recorded for the convenience

of the Court.

       Dated this 25th day of May, 2021.


                                            /s/ Clare R. Hochhalter
                                            Clare R. Hochhalter, Magistrate Judge
                                            United States District Court
